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                                    UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


RI,:: Frank Suarez                                                                    Ci\SE NUMBER: 23-19982 - LMI

                        TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                          (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee's letter or
requirements under the Bankruptcy Code and Rules, The Trustee reserves the right to raise additional objections
UNT!!, all documents are provided to the Trustee and reviewed.for issues raised and additional documents needed.
Sec Court Notice of Commencement fi:ff additional information and Trustee's website www.CII13miami.com for
forms and roccdurcs.
i\s appropriate, all written responses or documents must be received through BKDOCS,US or filed with the Clerk by
5prn at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is continued, Pro Sc
debtors may fax documents to 954-443-4452, Late documents may not be reviewed or considered, and this case may
be at risk of dismissaL The Trustee's Office has a "Pre-call" date, THE TIIURSDA Y PRIOR TO THE HEARING,
During this period, the Debtor's or Creditor's attorney must call and speak to the Trustee's staff attorney unless they
agree to the Trustee's recommendation, A final calendar will be published with any changes of this recommendation
the da before the hcarin' on the front Ja ic of the Trustee's website,
     ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***
                                                                                      LAST REVIEWU): 1/2/2024

~ J Plan served
If debtor's counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Debtor to Ille or provide written explanation and evidence at least 15 clays prior to the first confirmation hearing:

             I Documents required prior to the Trustee conducting or concluding the meeting o(creditors:
(Trustee reserves the right to recall meeting o(creditors until all documents in this section are provided and reviewed):

         LF 67
         Bank Account Statements: 11/1-11/30
         From Bank Statements:
        [] Copy of chcck(s) and cxplanation/cviclcncc of use over $999,99~
        !z:;J Explanation of withdrawal/debit/transfer and evidence of use over $999.99~ 8/9 $1,000, 9/5 $1,000
         Domestic Support Obligation form (complete with name, address, and phone number)

                                  II Plan issues to resolve prior to the confirmation hearing:

        i\ttorncy fee itemization or Fee Application needed (sec court guideline 6)
~-- j   20 I 6(b ), SOFA /116 and Plan do not match
        Motion in plan not filed: D MMM D Valuation D Lien Avoidance Motion D SLP Notice and/or Motion
        Plan docs not fund properly~
        /\mend Plan to include in other provisions: ~ IVL (Miami) DI 00% [] Lawsuit D Gambling D MMM
:~
          Plan docs not disclose treatment of all Sch D, E or G creditors~
         Creditor in Plan is not listed in Schedules or has not filed a POC~
         Creditor paid through the Plan has not filed a POC~
          Object or Conform to Proof of Claim~
        l:><i IRS_[] Miami-Dade County D Tax Certificate (DU/_             Dept of Revenue
          OT! !ER PLAN ISSUES:Amcnd Plan Scct.III.E#2 to provide acct# to match POC#2
          Ch 7 is $86844.50 may increase until all documents received and reviewed
          Good faith payment to unsecured creditors
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            I 00% Plan issue with filed claims

                                      III Documents required prior to the confirmation hearing:

'.;><;!    FMV and payoff of other: (firearm)~
Debtor has a business or self-employed~
   l::x;] BDQ complete with sclcction(s) [;><:I Profit/Loss IXI Balance Sheet
   !;><:]   Business Bank statements and checks: !XI 3 months pre-petition (ending on the date of the petition): #8779 (10/1-
11/30) '#3559 (11/1-11/30)
            From Bank Statements:
          [] Copy of chcck(s) and explanation/evidence of use over $999.99~
          l:><:l Explanation of withdrawal/debit/transfer and evidence of use over $999.99:acct#8779 9/5 $1000
           LF 76 (/\ttorncy Compliance with Claims Review) Bar Datc:2/8/24
           Other:
                             Legal issues to resolve prior to the confirmation hearing (reviewed at 341):

          Info on transfer SOF/\             und iscloscd              l;><:I   provide Tolling /\grccmcnt(s) car. boat, trailer (need
1:MV)




D Reserves right to Recall for additional reasons
D If' I 00% language is removed, Debtor to provide documents/resolve issues on all prior deficiencies
contemporaneously with .filing r~l amended plan.
D Documents not provided at least 7 days prior to 341 meeting; additional proof and in formation may be
necessary.




I hereby certifj1 that a true and correct copy oltheforegoing was served through JX~F on the debtor's allorney or by U.S. First
Class pre-paid Mail on the prose debtor on the same day filed ~with the Court.

                                                                                              Submitted by. NANCY K NUWCll, /~SQ
                                                                                              STANDING Cl/APrnR 13 TRUSTU;
                                                                                              P.O. BOX 279806, MIRAMAR, Fl, 33027
                                                                                              (954) 443-4402




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